Case: 1:16-cv-O4949 Document #: 18 Filed: 10/11/16 Page 1 of 1 Page|D #:40

UNITED STATE DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DI`VISION

JENNIFER MORRIS, Independent
Administrator of the Estate of
Ayden Carter Toplin, deceased,

P]aintiff,

V. Case No: 16-CV~4949
THE UNIVERSITY OF CHICAGO
MEDICAL CENTER, JENNIFER
ROSENBAUM, M.D., CARYN REID
APN, and the UNITED STATES' OF
AMERICA,

\_¢~__J\_¢\._¢\._»»-_.»\-_u-_r~._r~._»~_»¢\_¢~_¢`._.»~_,r

Defendants.

NOTICE OF VOLUNTARY DISMISSAL OF
JENNIFER ROSENBAUM, M.D. AND CARYN REID, APN
Pursuant to Federal Rule of Civil Procedure 41(a](1) plaintiff hereby
moves this Honorable Court for its order Voluntariiy dismissing Without
prejudice and Without costs defendants Jennifer Rosenbaum, M.D. and Caryn

Reid, APN, and removing their names from the caption as the case proceeds

further against the remaining defendants

Respectfully Submitted,

n /-m--- \_` //MM....,..~.\} fn
.V/\/\E>»<fQ/%/
\ WMM
/_ /__..

PFAFF, GILL 85 PORTS, LTD.

Attoi“neys for Piaintiff

One East Wacker Dr., Suite 3310

Chicago, IL 60601- 19 18

(312) 828~9666

We accept service at: eservice@pfaffgill.com
Firm ID: 12665

 

